Appellate Case: 22-6086       Document: 010111022702            Date Filed: 03/27/2024    Page: 1
                     UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                Byron White United States Courthouse
                                          1823 Stout Street
                                      Denver, Colorado 80257
                                           (303) 844-3157
                                      Clerk@ca10.uscourts.gov
 Christopher M. Wolpert                                                             Jane K. Castro
 Clerk of Court                                                                 Chief Deputy Clerk
                                        March 27, 2024


  Mr. Andrew Grimm
  Mr. Gregory William Keenan
  Digital Justice Foundation
  81 Stewart Street
  Floral Park, NY 11001

  RE:       22-6086, Whyte Monkee Productions, et al v. Netflix, et al
            Dist/Ag docket: 5:20-CV-00933-D

 Dear Counsel:

 Attached is a copy of the opinion of the court issued today in this matter. The court has
 entered judgment on the docket pursuant to Fed. R. App. P. Rule 36.

 Pursuant to Fed. R. App. P. 40(a)(1), any petition for rehearing must be filed within 14
 days after entry of judgment. Please note, however, that if the appeal is a civil case in
 which the United States or its officer or agency is a party, any petition for rehearing must
 be filed within 45 days after entry of judgment. Parties should consult both the Federal
 Rules and local rules of this court with regard to applicable standards and requirements.
 In particular, petitions for rehearing may not exceed 3900 words or 15 pages in length,
 and no answer is permitted unless the court enters an order requiring a response. See Fed.
 R. App. P. Rules 35 and 40, and 10th Cir. R. 35 and 40 for further information governing
 petitions for rehearing.
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 Please contact this office if you have questions.

                                             Sincerely,



                                             Christopher M. Wolpert
                                             Clerk of Court



  cc:      Emily F. Evitt
           Mack J. Morgan III
           Robert Henry Rotstein



  CMW/at
